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                            UNITED STATESDISTRICT COURT                     tkokFtF
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                           caseNo.    - - Ut -                              w
                                  18U.S.C.j1343
                                  18U.S.C.j981(a)(1)(C)


  U N ITED STA TE S O F AM ER IC A

  V S.


  M ARCUS ERROL POW ELL,

                              D efendant.


                                        IN DIC TM EN T

         The G rand Jury chargesthat:

                                 G EN ER AL A LLEG A TIO N S

         A talltim esrelevantto thislndictm ent:

                               The Sm allB usinessA dm inistration

                The United States Small Business Administration (û(SBA'') was an executive
  branch agency ofthe U nited States governm entthatprovided supportto entreprenetlrsand sm all

  businesses. The m ission of the SBA w as to m aintain and strengthen the nation's econom y by

  enabling the establishmentalad viability of sm allbusinesses and by assisting in the economic

  recovery ofcommtmitiesafterdisasters.

                A s partofthis effort,the SBA enabled and provided loans through bnnks,credit

  unions,and otherlenders.Theseloanshad government-backed guarantees.
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                                The Paycheck Protection Program

                TheCoronavirusAid,RelietlandEconomicSecurityI:ûCA1tES''IActwasafederal
  1aw enacted in or around M arch 2020,designed to provide em ergency linancialassistance to the

  millionsofAmericans who weze suffering from the econom ic effectscaused by the COV1D-19

  pandem ic. One solzrce of relief that the CARES Act provided was the Paycheck Protection

  Program (çtPPP''),which authorized forgivableloansto smallbusinessesforjob retention and
  certain otherexpenses.

         4.     The SBA prom ulgated regulationsconcerning eligibility foraPPP loan. To obtain

  aPPP loan,aqualifying businesswasrequiredto subm itaPPP loan application,whichwassigned

  by an authorized representative ofthe business. The PPP loan application required the business

  (through its authorized representative) to acknowledge theprogram rules and make certain
  affirmative certificationstobeeligibleto obtain the PPP loan,including thatthebusinesswasin

  operation on February 15,2020,and eitherhad em ployeesforwhom itpaid salariesand payroll

  taxesorpaid independentcontractors.Paym entsto independentcontractorsare typically reported

  tothelnternalRevenue Serdce(GûIRS'')on aCCFOI-I
                                                'n 1099-M 1SC.''In thePPP loan application
  (SBA Form 2483),thesmallbusiness(throughitsauthorizedrepresentative)wasrequiredtostate,
  amongotherthings,its:(a)averagemonthlypayrollexpensesorgrossincome;and(b)ntlmberof
  em ployees. These figures w ere used to calculate the am ount of m oney the sm allbusiness w as

  eligibleto receiveunderthePPP.

                In addition, a business applying for a PPP loan was required to provide

  documentation showing its payroll expenses. This payroll information was material to the
  application because,pursuarztto statutozy requirem entsand im plem enting regulations,the am ount

  of the loan thattypically could be approved was a function ofthe applicant's historicalpayroll
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  costs,consisting of com pensation to its em ployees w hose principal place of residence was the

  United States,subjecttocertain exclusions.
                Individuals who operated a business under a &tsole proprietorship'' business

  structlzre w ere eligible for a PPP loan. To qualify for such a PPP loan,individuals had to report

  and doclzment their income and expenses from the sole proprietorship. Sole proprietorships

  typically reporttheirincom eand expensesyearly tothe lRS on a tûForm 1040,Schedule C.'' As

  with otherPPP loans,this infonnation and supporting documentation was used to calculate the

  amotmtofm oney theindividualwasentitled to receive underthePPP.Them axim um PPP loan

  amountforasoleproprietorwith no em ployeeswas$20,833.
                PPP loan applicationsw ereprocessed by participating lendersand third-party loan

 processors. IfaPPP 1oan application wasapproved,theparticipating lenderfamded the PPP loan

  using its ow n m onies, including by electronic transfer through the A utom ated Clearing House

  system . W hile it w as the participating lender that issued the PPP loan, the loan w as 100%

  guaranteed by the SBA . D ata from the application,including inform ation aboutthe borrow er,the

  totalamountoftheloan,andthelisted numberofemployees,wastransm ittedby thelenderto the

  SBA in the course ofprocessing the loan.

                A fter the lender funded the PPP loan to the borrow er, the lender subm itted

  disbursementdetailsintotheSBA E--
                                  fran system ,with serverslocatedin Sterling,VA .TheSBA 'S

  D enver Finance Center, located in D enver, Colorado, created paym ent files and authorized

  paym ents of the PPP processing fee to the lender through the FinancialM anagem ent System to

  the Treasury. The prim ary server forthe FinancialM anagem entSystem w asin Sterling,V A . The

  PPP processing fee varied depending on the am ountofthe loan. Once created,the paym entfiles

  were then transm itted via w ire to the U .S.Treasury disbursing oftice in K ansas City,M issolzri,
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  which,in turn,sentinstructions forpaym entofftmds to the FederalResen'e Bank Automated

  Clearing Houseprocessing site in EastRutherford,New Jersey.

                The pzoceedsofa PPP loan could be used only forcertain specified item s,such as

  payrollcosts,costs related to the continuation ofgroup health care benefits,orm ortgage interest

  paym ents for the business. The proceeds ofa PPP loan were notperm itted to be used by the

  bonowerstopuzchaseconsumergoods,automobiles,personalresidences,clothing,orjewelry,to
  pay the borrower'spersonalfederalincom e taxes,or to fund the bonow er's ordinary day-to-day

  living expensestm related to the specitied authorized expenses.

         10.    The PPP allow ed the interestand principalon the PPP loan to be entirely forgiven

  ifthe bonow erutilized 60% ofthe loan in the 24 w eekspost-disblzrsem enttoward payrollcosts

  andutilizedtheremaining40% on qualifiedexpenseitems(e.g.,mortgage,rent,andutilities).
                Applying for PPP loan forgiveness w as a separate process thatrequired additional

  aftirm ationsthatthe applicantsatisfied the eligibility forPPP loan forgiveness. W hateverportion

  ofthe PPP loan w asnotforgiven w as serviced as a loan.

                                          The D efendant

                D efendant M A R CU S ER R O L PO W ELL w as a resident of Brow ard County,

  Florida.

                D efendant M A R CU S ER R O L PO W ELL w as the president of B O N VIVA N T

  IN D USTRIES,lNC .,an entity w hich w asincorporated on oraboutJuly 19,2021.

                                         R elevantLender

                Lender 1 w asa participating lenderin thePPP thatissued PPP loans.Itw aslocated

  in the State ofArizona.
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                                            C O UN T 1
                                           W ire Fraud
                                        (18U.S.C.j 1343)
         15.    The GeneralAllegationssection ofthisIndictm entisre-alleged and incorporated

 by referenceasthough fully setforth herein.

         16.    From in oraround April2021,through in or around September2021,the exact

 dates being lm known to the Grand July,in Broward County,in the Southern D istrictofFlorida,

  and elsew here,the defendant,

                                  M A R CU S ER R O L PO W E LL,

  did know ingly,and w ith the intentto defraud,devise,and intend to devise,a schem e and artifice

 to defraud, and to obtain m oney and property by m eans of m aterially false and fraudulent

 PCCtCIISCSN Cepcesentatiolls, and prom ises, know ing that the pretenses, representations, and

 prom ises w ere false and fraudulentw hen m ade,and,forthe purpose ofexecuting the schem e and

  artifice,did know ingly transm itand cause to be transm itted,by m eansofw ire com m unication in

  interstate com m erce,certain writings,signs,signals,pictures,and sounds,in violation ofTitle 18,

  United StatesCode,Section 1343.

                        PU RPO SE O F TH E SCH EM E AN D AR TIFICE

                Itw asthepurpose ofthe schem e and artifice forthe defendantto tm law fully enrich

  himselfby,amongotherthings:(a)submittingandcausingthesubmissionofafalseandfraudulent
  application foz a PPP loan m ade available through the SBA to provide relief for the econom ic

  effectscausedbytheCOVlD-19pandemic;(b)causingthedisbursementofaPPP loantohimself
  thathewasnotentitledtoreceive;and (c)submitting and causingthesubmission ofafalse and
  fraudulentapplication for forgiveness ofa PPP loan m ade to him .
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                                TH E SCH EM E A ND A R H FIC E

         The m nnner and m eans by which the defendant soughtto accom plish the purpose ofthe

  schemeand artifice included,am ong others,thefollowing:

         18.     M ARCUS ERROL POW ELL subm itted and caused the submission of a

 m aterially false and fraudulent application for a PPP loan from the SBA through Lender 1 on

 behalf ofhim selfas a sole proprietor,which application included m aterially false and fraudulent

  inform ation asto the borrow er's totalgross business incom e                  and the year his
 businessw asestablished.                                             k.q.
         19.     M AR C U S ERR O L POW ELL subm itted and caused the subm ission ofm aterially

  false and fraudulentdocum entation in supportofan application fora PPP loan,including afalsified

  lnternalRevenue Service tax fonn.

                A s a result ofthe false and fraudulentPPP loan application and infonnation and

  docum entation subm itted as part of the schem e and artifice, M A R CU S ER RO L PO M V LL

  caused Lender1to disburse approximately $20,832 in PPP loan proceedsto M ARCUS ERROL
  PO M X LL

         21.     ln furtherance of the schem e and artitk e, M A R CU S ER R O L PO W ELL

  subm itted and caused the subm ission of a m aterially false and fraudulent application and

  inform ation to Lender 1 to cause the forgiveness of a PPP loan issued to M AR C U S ERR O L

  PO W ELL .

         22.     M AR CU S ER R O L PO W ELL used the proceeds of the schem e and artifice to

  ev ich hirnself.
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                                         U SE O F W IRE S

                 On or aboutM ay 21,2021,M A R CU S ER RO L PO W ELL,fOr the purpose of

  executing the aforesaid schem eand artificeto defraud,and to obtain m oney and property by m eans

  of m aterially false and fraudulent pretenses, representations, and prom ises, knowing that the

  pretenses,representations, and prom ises w ere false and fraudulent when m ade, did knowingly

  transm it and cause to be transm itted in interstate com m erce,by m eans of w ire com m unication,

  certain w ritings,signs,signals,pictuzes,and sounds,thatis,the disbursem entofSBA loan num bez

  9450488907from Lender1 in the approxim ate amountof$20,832 by Autom atedClearing House
  transferto B ank ofA m erica,N .A .,checking accountnum berending in 8369.

         ln violation ofTitle 18,U nited StatesCode,Section 1343.



                              LRemainderofpageIntentionallyBlankj
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                                     FOR FEITU R E A LLEG A TIO N S

                     Theallegationsofthislndictmentarehereby re-alleged and by thisreferencefully

       incozporated herein forthepurpose ofalleging forfeitlzre to the United StatesofAm ericaofcertain

       property in which the defendant,M ARCUS ERROL POW ELL,hasan interest.

                     Upon conviction of a violation of Title 18,U nited States Code,Section 1343,as

       alleged in this lndictm ent,the defendantshallforfeitto the United States any property,realor

       personal,w hich constitutesoris derived fzom proceedstraceable to such offense,pursuantto Title

       18,UnitedStatesCode,Section 981(a)(1)(C).
               AllpursuanttoTitle18,United StatesCode,Section981(a)(1)(C)andtheproceduresset
       forth in Title 21,U nited StatesCode,Section 853,asincorporated by Title28,U nited StatesCode,

       Section2461(c).
                                                                  A TRU E BILL
                                                                           /m      = 1

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                                      .                           FOREPE SO

               EN ZY LAPO IN TE
    .,Q-IX ITE    TATESATTORNEY

             H A R .M ITR AN I
       A SSISTA N T UN ITED STA TES ATTORN EY




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                            UN ITED STATES DISTRICT CO URT
                            SO UTH ER N DISTRICT OF FLO RIDA

UN ITED STATES O F AM ERICA                         CA SE NO .:

V.
                                                    CER TIFICA TE OF TRIA L A TTO RN EY
M ARCUS ERROL POW ELL,
                                        /           Superseding Caselnform ation:
                 Defendant.                         New Defendantts)(YesorNo)
CourtDivision(selectone)                            N um berofN ew D efendants
   IZIM iam i L.Key W est L FTP                     Totalnum berofcounts
      1 FTL         L W PB

1do hereby certify that:
  1. lhave carefully considered the allegations ofthe indictm ent,the num berofdefendants,the numberofprobable
       witnessesand the legalcomplexitiesofthe Indictm ent/lnfonnation attachedhereto.
        lnm awarethattheinformation supplied on thisstatementwillberelied upon by theJudgesofthisCourtin setting
        theircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3l61.
        Interpreter:(YesorNo)No
        Listlanguage and/ordialect:

        Thiscasewilltake 3 daysforthepartiestotry.

        Please check appropriatecategory and typeofoffense listed below :
        (Checkonlyone)                     (Checkonlyone)
        l l 0to 5days                       L Petty
        11 L 6to 10days                     L'M inor
        l1l L l1to 20days                   D M isdemeanor
        IV D 21to 60days                    R Felony
        V L 61daysand over
        HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)N0
        lfyes,Judge                                 CaseN o.
        Hasacomplaintbeenfiledinthismatter?(YesorNo)No
        Ifyes,M agistrate Case No.
        DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)NO
        lfyes,Judge                                 Case N o.
 9. Defendantts)infederalcustodyasof
 10. Defendantts)in statecustody asof
  11. Rule 20 from the                Districtof
  l2. lsthisapotentialdeathpenaltycase?(YesorNo)No
  13. D oesthiscase originate from am atterpending in theN orthern Region ofthe U .S.Attorney's Office
        priortoAugust8,2014(Mag.JudgeShaniekMaynard?(YesorNo)No
  l4. Doesthiscaseoriginate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sO ffice
        priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No
        Didthism atterinvolve theparticipation oforconsultation w ith now M agistrate JudgeEduardo 1.Sanchez
        during histenureatthe U .S.Attorney's Office,w hich concluded on January 22,2023? N O


                                                    By:
                                                                rt a R.M itrani
                                                             A ssistantU nited StatesAttorney
                                                             FL BarN o.          88171
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                            U N ITED STA TE S D ISTRIC T C O UR T
                            SO U TH ERN D ISTR IC T O F FLO R ID A

                                       PEN ALTY SH EET

  Defendant'sNam e:M ARCUS ERROL POW ELL

  C ase N o:

  Colmt#:1

  W ireFraudaTitle 18,U nited States CodesSection 1343


  * M ax.Term ofIm prisonm ent:20 years
  *M andatoryM in.Term oflmprisonment(ifapplicable):n/a
  * M ax.Supervised R elease:3 years
  *M ax.Fine:$250,000




    ARefersonly to possible term ofincarceration,supervised release and flnes. ltdoesnotinclude
          restitution,specialassessm ents,paroleterm s,or forfeituresthatm ay be applicable.
